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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


In re

CUSTOMS AND TAX ADMINISTRATION OF                   MASTER DOCKET
THE KINGDOM OF DENMARK
(SKATTEFORVALTNINGEN) TAX REFUND                    18-md-02865-LAK
SCHEME LITIGATION

This document relates to:   The cases identified
                            in Appendix A



               DEFENDANT ROBERT KLUGMAN’S OFFER OF PROOF
              REGARDING INVOLVEMENT AND ADVICE OF COUNSEL
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    I.    INTRODUCTION

          Defendant Robert Klugman makes the following offer of proof in response to the Court’s

September 6, 2024 Order (the “Order”). Dkt. 155.1 Mr. Klugman notes that his expected

testimony will track in material respects the testimony adduced by SKAT in his January 28, 2021

deposition.2

          As described more specifically below, we expect that Mr. Klugman would testify that

international and domestic attorneys at prominent law firms were integrally involved in the

design and review of, and provided advice on, the Trial 1 Defendants’ trading strategy for

implementation in Denmark, as had been implemented in other countries, and provided specific

and interrelated legal advice, including advice regarding: (1) the establishment of partnerships

for purposes of the trading strategy; (2) the creation of United States pension plans and/or other

tax-advantaged vehicles to engage in the strategy; (3) the tax treaty between the United States

and Denmark; (4) reporting requirements under domestic and international securities laws; (5)

the meaning of legal concepts such as beneficial ownership under foreign law; and (6) how to

respond to United States regulators who examined the plans and trading at issue. In addition,

lawyers at Kaye Scholer were involved in the actual submission of the tax reclaim forms to the

Danish taxing authority. And, because its address was listed on various forms, Kaye Scholer


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   Mr. Klugman recognizes that the Order demands a “complete” offer of proof and has endeavored in good faith
herein to provide a full and complete recitation of all testimonial and documentary evidence that he proposes to
introduce and all the arguments that he intends to make at trial. Mr. Klugman respectfully requests leave to
supplement this offer of proof as the parties finalize their exhibits and get closer to trial, and to the extent that
Plaintiff introduces evidence and/or makes argument at trial not contemplated at the time of this submission.
2
   Plaintiff’s motion in limine (Dkt. 1125) reserves the right to argue, after the close of evidence, that the Court
should not instruct the jury on evidence (or argument) that Defendants relied on advice of counsel “in representing
in the tax refund claims that the plans were qualified under the Internal Revenue Code” to the extent Defendants fail
to establish the elements of that separate issue at trial. See id. at 2, n.1. Accordingly, Mr. Klugman understands that
neither Plaintiff’s motion, nor the Order, contemplates pre-trial preclusion of evidence in that regard, and excludes
such evidence from this offer of proof. Mr. Klugman respectfully requests leave to supplement this submission to
the extent that the Court directs an offer of proof on such evidence.


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also received statements and other documents reflecting what Mr. Klugman believed was the

trading and surrounding transactions employed for the strategy. Mr. Klugman would testify that

he relied heavily and in good faith on the advice, involvement, and oversight of Kaye Scholer,

and other domestic and international attorneys at all relevant times, to ensure that neither he, nor

any attorney acting on his behalf, made any false statements of fact with knowledge or reckless

disregard to their falsity, acted with any intent to convince Plaintiff to rely upon such statements

to its detriment, aided or abetted a fraud committed by others, had any intent to defraud, or made

any material misrepresentations. To the extent not directly stated below, Mr. Klugman also

adopts the offers of proof of Trial 1 defendants Richard Markowitz and John van Merkensteijn

submitted contemporaneously herewith, insofar as he will testify that he communicated

consistently with these individuals throughout the relevant period and relied at all times on the

full range of advice and involvement provided by counsel to Messrs. Markowitz and van

Merkensteijn. All of this evidence is critical to his defense and demonstrates that Mr. Klugman

was at all times acting in good faith, and at no point had any intent to defraud SKAT.

 II.      EVIDENCE

       A. Evidence and Expected Testimony Regarding Mr. Klugman’s Knowledge of Legal
          Advice Addressing the Dividend Arbitrage Strategy in Germany and Belgium Prior
          to His Denmark Investment

          Although Mr. Klugman did not participate in the trading strategy in Denmark until late

2014, he had reason to believe as early as 2009 that domestic and international law firms

engaged by Solo Capital, the other investors, and others (including large investment firms) had

examined and given advice on the strategy later employed in Denmark. In some cases, Mr.

Klugman participated in phone calls or was included on emails where such advice was given. In

other instances, Mr. Klugman received confirmation of the advice after it was initially provided,

but before he went forward with his investment in Denmark.

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       Initially, Mr. Klugman would testify, prominent law firms were involved in and provided

advice directly to him, other investors, and Solo Capital concerning an investment in a fund

called Broadgate Ireland Funds PLC, a dividend arbitrage trading fund strategy directed by Solo

Capital and involving Germany securities. Mr. Klugman would testify that he participated based

upon the advice and involvement of attorneys at Crowell & Moring and Norton Rose. See Ex. 1,

at Bates WH_MDL_00356117 (opinion by Norton Rose describing the transaction and offering

legal advice); Ex. 2, van Merkensteijn Dep. Tr. at 367 (recounting Crowell & Moring’s

involvement); Ex. 3, at Bates WH_MDL_00342378 (email from Richard Markowitz to counsel

at Crowell & Moring, copying Mr. Klugman, discussing the business arrangement with Solo);

Ex. 4, at Bates WH_MDL_00454318 (email from Richard Markowitz to counsel at Crowell &

Moring attaching an “Equity Arbitrage Transaction Letter Agreement”); Ex. 5, at Bates

WH_MDL_00342404 (continuing discussions with Crowell & Moring regarding the agreement

with Solo); Ex. 6, at Bates WH_MDL_00454256 (same); Ex. 7, at Bates WH_MDL_00454287

(same); Ex. 8 , at Bates WH_MDL_00342371 (email exchange in which Mr. Klugman asks

Crowell & Moring attorneys questions regarding the Equity Arbitrage Transaction Agreement).

Mr. Klugman is expected to testify that, based on his personal experience, these major,

international law firms advised that certain tax-exempt U.S. pension funds and charitable

organizations that participated in dividend arbitrage trading in German securities could receive

relief from withholding taxes in Germany in compliance with relevant international and United

States law upon receipt of tax exemption certification. See Ex. 9, Klugman Dep. Tr., at 32 (Mr.

Klugman answering questions from SKAT on his investment in the Broadgate Fund).

       With regard to Belgian dividend arbitrage trading, Mr. Klugman would note that he did

not receive payments from the Kingdom of Belgium, but he would also testify, based on his



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personal knowledge, that attorneys at Freshfields and Kaye Scholer both rendered advice that

tax-exempt U.S. pension funds and charitable organizations that participated in dividend

arbitrage trading involving Belgian securities could receive relief from dividend withholding

taxes in the Kingdom of Belgium upon receipt of tax exemption certification from Belgian and

United States authorities. Even when only contemplating making an investment, Mr. Markowitz

told Mr. Klugman that he wanted to “have some conversations with the lawyers as a start, so that

we had comfort on the basics of the structure.” Ex. 10, at Bates WH_MDL_00458732 (email

from Richard Markowitz to others describing obtaining an opinion letter from Freshfields).

Extensive conversations then ensued with Freshfields, resulting in Freshfields examining in

detail the transactions comprising the investment strategy and offering a legal opinion. Ex. 11, at

Bates KLUGMAN00061659 (email from Freshfields providing Belgian tax opinion to Mr.

Klugman and others); Ex. 12, December 18, 2012 Freshfields Bruckhaus Deringer Opinion on

“Investment in Belgian shares,” at Bates KLUGMAN00061661 (Freshfields Belgian tax opinion

describing the investment strategy); Ex. 13, at Bates KLUGMAN00060791 (email conveying

Freshfield attorney advice on disclosure thresholds); Ex. 14, at Bates KLUGMAN00061594

(email conveying Freshfields attorney advice on documents necessary from the U.S. pension

fund to engage in the dividend arbitrage strategy); Ex. 15, at Bates KLUGMAN00062778 (email

from Freshfields attorney regarding “Belgian domestic withholding tax exemption”); Ex. 16, at

Bates KLUGMAN00062881 (calendar invitation including Freshfields attorney with the subject

“Duet – Belgium”); Ex. 17, at Bates KLUGMAN00065014 (email reflecting additional advice

received from Freshfields attorneys); Ex. 18, at Bates WH_MDL_00281229 (emails further

reflecting input from other counsel).




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       Attorneys at Kaye Scholer also provided their advice based on Freshfield’s analysis. See

Ex. 19, at Bates WH_MDL_00458977 (email from Mr. Markowitz asking that the investors’

lawyer, Michael Ben-Jacob at Kaye Scholer, be copied on any correspondence); Ex. 20, at Bates

KLUGMAN00062393 (email from Mr. Markowitz reflecting comments on the Freshfields

Belgian tax opinion prior to receiving comment from Kaye Scholer); Ex. 21, at Bates

KLUGMAN00062389 (email from Michael Ben-Jacob to “supplement[]” Mr. Markowitz’

comments on the Freshfields Belgian tax opinion).

       Mr. Klugman would testify that his receipt and review of the Freshfield’s opinion was

important in his consideration of the Belgium investment and ultimately was a significant factor

in his decision to become an investor in Denmark. In particular, Mr. Klugman recalls he

participated in a March 6, 2013 teleconference with Freshfield attorneys and others, and was

provided a legal opinion by Freshfields that analyzed the legal implications of the strategy. Ex.

22, at Bates KLUGMAN00061534. Mr. Klugman saw in that opinion that Freshfield had closely

analyzed the trading strategy and provided advice on “[w]hether the Pension Plan would qualify

as beneficial owner of such dividends” under, in this case, Belgian law. Ex. 12, at Bates

KLUGMAN0006166. While Mr. Klugman was not a client of Freshfields, and the opinion

concerned Belgian law, Mr. Klugman would testify that, in his mind and to his understanding,

that the opinion continued to establish a track record of Solo Capital and Argre Management

securing legal opinions from major law firms and executing substantial due diligence before

entering into any dividend arbitrage trading, which was consistent with what Mr. Klugman had

seen major financial institutions do throughout his career. It was also the same legal process Mr.

Klugman saw them do in Denmark before Mr. Klugman decided to invest in the strategy himself.




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       Thus, the significance of the involvement of these law firms is not tied to whether they

did or did not give correct advice. Neither does it depend on whether Sanjay Shah was correctly

describing how he would later actually carry out the transactions described in the legal

memoranda. Rather, we would expect Mr. Klugman to testify that essential to his own decision

to invest in the dividend arbitrage strategy in Denmark in 2014 was his knowledge that Solo

Capital had carried out analogous strategies in Germany and Belgium with the participation of

multiple, prominent law firms, and that Mr. Klugman believed that these firms were told how the

strategy worked and subsequently provided advice to ensure that it was in compliance with law.

We would expect Mr. Klugman to testify that in his mind, the involvement of these firms and the

advice they gave, as Mr. Klugman saw from the memoranda and learned from his own

discussions, established: (1) that Solo Capital had a successful record of carrying out a dividend

arbitrage strategy analogous to the strategy in which Mr. Klugman intended to participate in

Denmark; (2) both Solo Capital and the other investors were ensuring that they complied with

both domestic and international law; and (3) that this strategy was legally legitimate and sound.

Mr. Klugman would testify that the participation of and advice given by these lawyers left Mr.

Klugman with no reason to suspect that anyone had acted contrary to law or to doubt that the

strategy was legitimate — all before he made his decision to invest in Denmark. This evidence

is highly relevant as to what was in Mr. Klugman’s mind and what his intent was when he

ultimately invested in what he thought and was told was an analogous dividend arbitrage strategy

in late 2014.

   B. Evidence and Expected Testimony Regarding Mr. Klugman’s Knowledge of Legal
      Advice Concerning Trading in Denmark Prior to and During the Course of His
      Denmark Investment

       In addition to the above-described testimony regarding the four years of advice that Mr.

Klugman and the other Trial 1 Defendant investors received regarding the implementation of the

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dividend arbitrage strategy in Germany and Belgium, Mr. Klugman will testify that another

reason that he decided to invest in the strategy in Denmark was due to the advice and

involvement of attorneys at Hannes Snellman, Bech Bruun, Horton, and Kaye Scholer

specifically concerning implementing the strategy in Denmark. In particular, we would expect

Mr. Klugman to testify that he received copies of legal opinions from each of these law firms

prior to late 2014, when he began his involvement in the Danish trading strategy. We would

expect Mr. Klugman to testify that he was told and believed that the strategy was fully and

properly described to attorneys at Hannes Snellman, Bech Bruun, Horton, and Kaye Scholer, and

that these firms advised that certain tax-exempt U.S. pension funds and charitable organizations

that participated in dividend arbitrage trading involving Danish securities could receive relief

from withholding taxes in the Kingdom of Denmark in compliance with relevant international

and United States law. See Ex. 23, Defendant Robert Klugman’s Responses and Objections to

Plaintiff’s First Set of Interrogatories.3

        In particular, Mr. Klugman would testify that he was shown the tax opinion Solo obtained

from the law firm Hannes Snellman addressing the implementation of the trading strategy in

Denmark. Ex. 9 at 218. The opinion described the steps that would be taken to implement the

strategy and then considered the Danish tax implications for a U.S. pension fund engaging in

those transactions, ultimately concluding that the pension fund “should be entitled to claim a full

refund of the Danish dividend withholding imposed on the Equities pursuant to the Denmark-US

Tax Treaty.” Id.; see also Ex. 24, at Bates KLUGMAN00003932. Mr. Klugman would testify


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  Mr. Klugman informed SKAT at the outset of discovery and repeatedly thereafter of his decision to waive
privilege regarding advice pertaining to dividend-arbitrage transactions. Id. Defendants also produced attorney-
client communications and attorney work product to SKAT, and SKAT had a full and fair opportunity to examine
Mr. Klugman during his deposition about the involvement of counsel in this matter. SKAT also deposed four Kaye
Scholer attorneys: Peter Wells, Kathleen Wechter, Arthur Woodard, and Michael Ben-Jacob.


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that seeing that Solo Capital had appropriately sought and received advice from a Danish law

firm, who relayed the components of the transactions as Mr. Klugman understood them and

provided advice that the U.S. pension plan would be entitled to a reclaim, Mr. Klugman went

forward with his investment in good faith and with an understanding that the trading was

compliant with both United States and Danish law. Ex. 9 at 218-19.

       Mr. Klugman was also shown the opinion Bech-Bruun provided to North Channel Bank

GmbH & Co. KG, which “consider[ed] the Danish liability implications for NCB of acting as a

custodian bank in certain transactions over Danish listed equities entered into by a United States

pension fund[.]” Ex. 25, at Bates SKAT_MDL_001_00533266. After examining the series of

transactions contemplated by the trading strategy, which were described in detail, Bech-Bruun

also believed the strategy was legally sound, concluding that “[North Channel Bank] should not

be subject to Danish civil law liability to compensate the Danish state for any loss suffered as a

result [of] its role in the contemplated transaction.” Id., at Bates SKAT_MDL_001_00533270.

Mr. Klugman was not a client of Bech-Bruun, but that fact is irrelevant as Mr. Klugman is not

asserting an advice of counsel defense. Rather, the memorandum is highly relevant to his state

of mind as it relayed the series of transactions (as he understood that they would be carried out)

and opined on the legality thereof. Just as he had witnessed in Germany and Belgium, Mr.

Klugman saw that yet another prestigious law firm — specifically construing Danish law — had

been consulted and provided legal advice that the strategy was sound. These opinions and the

surrounding communications are integral to his defense as they demonstrate his good faith and

complete lack of intent to defraud anyone.




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   C. Evidence and Expected Testimony Regarding Mr. Klugman’s Knowledge of Kaye
      Scholer’s Role in the Trading Strategy in Denmark

        We would expect Mr. Klugman to also testify that the advice he received from, and

intense involvement of, Kaye Scholer further informed and strengthened his decision to invest in

the trading strategy in Denmark. The advice from Kaye Scholer is thus also highly relevant

when the jury considers whether Mr. Klugman intended to defraud SKAT. Although Mr.

Klugman did not become a Kaye Scholer client until shortly before he began his investment in

the strategy in 2014, he saw communications and was told of Kaye Scholer’s intense

involvement since the strategy was implemented in Denmark in 2012. Ex. 9 at 293.

        One of the documents Mr. Klugman would testify that he relied on was the June 20,

2014, memorandum that attorney Michael Ben-Jacob from Kaye Scholer sent to the principals of

Argre Management. Ex. 26, at Bates KLUGMAN00067808. The memorandum first described

the partnership agreements and pension plans that were created to carry out the strategy. Id., at

Bates KLUGMAN00067809. Then, Kaye Scholer describes its understanding of the strategy,

which in detail laid out the different steps of the transactions as Mr. Klugman understood them.

Id., at Bates KLUGMAN00067810 - KLUGMAN00067811. The memorandum also noted that

in the case of the particular pension plan it was examining, 66% of the proceeds would be paid to

Solo.   Id., at Bates KLUGMAN00067812.          The memorandum then provided legal advice

concerning whether the pension plan would be tax-exempt. Id., at Bates KLUGMAN00067813.

Mr. Klugman already testified that his review of this memorandum solidified in his mind that

Kaye Scholer clearly knew how the trades worked. Ex. 9 at 303-304 (“[T]hey knew all the

agreements we were entering into. They obviously knew how the trade worked. They wrote it

in their memorandum.”). Indeed, Mr. Klugman added that there were later communications back

and forth between Kaye Scholer and the Treasury Department leading Mr. Klugman to conclude


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that Kaye Scholer “couldn’t have possibly answered those questions without knowing everything

that [] we were doing.”            Id.   Moreover, in some cases, Kaye Scholer also had direct

conversations with Solo Capital. See, e.g., Ex. 27, at Bates WH_MDL_00355584 (billing entry

from Peter Wells with the description: “Attention to issues related to reclaim matters. Call with

Solo Capital re: the same.”).4

        Functionally, Mr. Klugman would testify that Kaye Scholer was heavily involved in

executing the transactions. In order to carry out the trading strategy, Mr. Klugman gave Kaye

Scholer power of attorney so that they could help Mr. Klugman set up “all the elements of the

transaction . . . . All of it, every element.” Ex. 9 at 63; Ex. 28, June 30, 2014 Limited Power of

Attorney, at Bates KLUGMAN00026019.                    This work included on-boarding the plans and

completing (and signing) various on-boarding forms on behalf of the plans, Ex. 29, at Bates

WH_MDL_00355489 (billing 2.5 hours for uploading entity forms for on-boarding); drafting the

partnership documents and plan payment instructions, Ex. 30, at Bates WH_MDL_00355641

(billing 4.0 hours for same); drafting client custody agreements, guarantee deeds, and beneficial

owner declaration forms, Ex. 31, at Bates WH_MDL_00282562; advising on the stock-lending

agreements, Ex. 32, at Bates WH_MDL_00282642; reviewing forward contracts, Ex. 33, at

Bates WH_MDL_00394151; providing other United States tax and compliance advice, Ex. 34, at

Bates WH_MDL_00286571; liaising with Elite Pension Consultants to create the pension plans,

Ex. 35, at Bates WH_MDL_00227861; interacting with the reclaim agents, Ex. 36, at Bates

WH_MDL_00355663 (billing described as:                   “Reach out to reclaim agents for summaries;




4
  Although only some billing records are cited herein, Mr. Klugman would intend to offer further billing records
corroborative of the facts laid out in the offer of proof. Because those records are voluminous, Mr. Klugman is not
providing them as an exhibit, but can of course do so if helpful to the Court’s determination.


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meeting with R. Klugman; review information regarding Danish reclaims”); and, in at least some

cases, reviewing trade confirmations.

        Indeed, Mr. Ben-Jacob himself, using his power of attorney, gave GoalTaxBack signing

authority to sign reclaim forms on behalf of Mr. Klugman’s pension plans. Ex. 37, at Bates

SKSK00000041-0001. In addition, the mail for the plans was sent to Kaye Scholer. Ex. 9 at 166

(explaining that “we had centralized mailing to Kaye Scholer’s office”). Mr. Klugman would

also testify that he believed that Kaye Scholer had access to the trading e-mail accounts of the

plans as well. Id. at 205-206. Finally, in at least one case, Kaye Scholer signed letters to the

plans’ custodians authorizing payment of broker fees. Ex. 38, at Bates KLUGMAN00006171.

       Generally speaking, Mr. Klugman described Kaye Scholer’s involvement as such:

       [I]t was in line with the role of lawyers that I’ve worked with, you know,
       throughout my entire career from big law firms. It was just, generally speaking,
       making sure everything was done correctly. . . . [F]rom what I saw, it was – you
       know, kind of from – to use an overused expression, “from womb to tomb,” they
       helped us in setting up the entities, they helped in getting us to be approved clients
       of the entities. They knew what trades were going on. They helped us with tax
       issues, securities law issues, reporting issues, yeah, just in line with how I’ve
       worked with other law firms my whole career.

Ex. 9 at 302-303; see also id. at 63-64 (“Kaye Scholer was involved in every part of the

transaction. The intensity was more in the setting up. But then there were also plenty of other

issues, plenty of other U.S. issues involved in reporting and U.S. tax.”).

       Mr. Klugman would testify that many lawyers at Kaye Scholer were involved in every

aspect of the trading strategy. In addition to Mr. Ben-Jacob, another attorney at Kaye Scholer,

Peter Wells, was “the second most senior attorney actively involved in the transaction.” Id. at

143. Mr. Klugman noted that, like Mr. Ben-Jacob, Mr. Wells was involved in “all parts of the

transaction.” Id. In addition to Mr. Ben-Jacob and Mr. Wells, at least eight other Kaye Scholer

attorneys and staff worked on and provided legal advice about the Danish trading. See, e.g., Ex.


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39, at Bates WH_MDL_00355497. Of the millions paid to Kaye Scholer by the Investor

Defendants, Klugman himself personally paid several hundreds of thousands of dollars after

becoming a Kaye Scholer client in mid-2014.

       Mr. Klugman would testify that Kaye Scholer further advised Mr. Klugman with respect

to IRS inquiries and spoke directly to the IRS regarding Mr. Klugman’s plans. In 2014, when

IRS asked for certain information with respect to the plans, it was Kaye Scholer who responded

to the IRS on behalf of the pension plans and ensured that they were qualified. Ex. 40, at Bates

KLUGMAN00006429;          Ex.   41,   at   Bates        KLUGMAN00006434;      Ex.   42,    at   Bates

KLUGMAN00006420. Once the forms came in from the IRS indicating that the plans were

qualified, Kaye Scholer sent them to the reclaim agents “so they can move on the reclaims.” Ex.

43, at Bates KLUGMAN00006407.

       Moreover, when the Federal Reserve had questions about the plans, it was Kaye Scholer

attorney Peter Wells, along with other attorneys at Kaye Scholer, who compiled the information

and interacted with the Federal Reserve. Ex. 44, at Bates KLUGMAN00006233; Ex. 45, at

Bates KLUGMAN00006245; Ex. 46, at Bates WH_MDL_00355609-WH_MDL_00355610

(reflecting Peter Wells’ call with the Federal Reserve and responding to its requests)).

       In addition, Kaye Scholer attorneys had conversations with attorneys at the Danish Law

firm Horten, and then provided Horten’s advice to and discussed it with Mr. Klugman and the

other investors. On December 2, 2014, Michael Ben-Jacob sent an email to Mr. Markowitz,

Peter Wells, Mr. van Merkensteijn, and Mr. Klugman noting that Mr. Ben-Jacob spoke to a

lawyer in Copenhagen regarding reporting requirements under Danish law pertaining to the

trading strategy to discuss whether one looks “to legal title ownership and not to beneficial

ownership” in construing those requirements. Ex. 47, at Bates KLUGMAN00006330; Ex. 48, at



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Bates WH_MDL_00355492-00355493 (billing for the call with Danish counsel, another call

with the clients, and various communications related to the same). Ten days later, Michael Ben-

Jacob had a second phone call with the Danish lawyer, which he related to Mr. Klugman and the

other investors. Ex. 49, at Bates WH_MDL_00245083 (requesting follow-up call); Ex. 50, at

Bates WH_MDL_00317141 (Danish lawyer offering “guidance” on the questions raised for the

follow-up call); Ex. 51, at Bates KLUGMAN00006293; Ex. 52, at Bates WH_MDL_00355494

(billing for a call and emails with Danish counsel, 2.0 hours). Mr. Ben-Jacob then wrote that,

based on what he learned from the Danish lawyer, he did not believe the trading strategy would

trigger any reporting requirements under Danish law.         Ex. 47 (“Taking these practicalities

together with the fact that in your case a reasonable, although not unassailable, argument can be

made that you are not acting in concert[,] my own conclusion would be not to file.”).

       The Kaye Scholer memorandum, Mr. Klugman’s interactions with multiple lawyers at

Kaye Scholer, and the emails described above are highly relevant to and probative of Mr.

Klugman’s state of mind. They demonstrate: (1) Mr. Klugman took steps to ensure that the

trading strategy (as he understood it) was vetted by a prominent law firm who was involved in

every aspect of the trading; (2) that Mr. Klugman was attempting to follow any legal obligations

he had with respect to his investment in the trading strategy; (3) the transactions that made up the

trading strategy (at least as Mr. Klugman understood them) were known to Kaye Scholer who

relied on those representations for their legal advice; and (4) Mr. Klugman had no reason to

believe anything fraudulent was going on as Kaye Scholer itself was heavily involved in

executing the strategy. Yet again, the importance of this is not whether such advice is or is not a

correct statement of Danish law, but instead that this evidence demonstrates that Mr. Klugman

had no intent to defraud SKAT.



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         In sum, all of the above advice and involvement of several major United States and

international law firms reflect that Mr. Klugman did not make any false statements with

knowledge or reckless disregard to its falsity, nor act with any intent to convince Plaintiff to rely

upon such statements to its detriment, nor aid or abet a fraud committed by others, nor

knowingly make any material misrepresentations in the preparation, execution and submission of

the one-page forms entitled “Claims to Relief from Danish Dividend Tax,” required by Plaintiff

in connection with dividend withholding claims. Ex. 53, at Bates KLUGMAN00039292; Ex. 54,

at Bates KLUGMAN00039300, Ex. 55, at Bates KLUGMAN00059888; Ex. 56, at Bates

KLUGMAN00039307.

III.     CONCLUSION

         For the reasons described in Defendants’ response to Plaintiff’s Motion in limine (Dkt.

1161), the expected testimony and other evidence described above is “essential for the jury’s

determination of each Defendant’s state of mind.” Id. at 3. For Mr. Klugman, his knowledge of

the lengths to which Solo and the other investors went to hire attorneys to ensure that Solo’s

dividend arbitrage strategy was implemented in accordance with German, Belgian, and

ultimately Danish law, and the legal memoranda and communications that he saw reflecting that

advice is highly relevant to his good faith belief and understanding that these transactions

accorded with those laws. Moreover, his own efforts to confirm that the trading strategy was

legitimate and complied with law is also highly probative of his good faith intent. Precluding

such critical evidence would prevent Mr. Klugman from offering a complete defense to SKAT’s

allegations.




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